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   17                                              Attorneys for Defendant
                                                   QUSTODIO, LLC
   18
   19
                                   UNITED STATES DISTRICT COURT
   20                             CENTRAL DISTRICT OF CALIFORNIA
                                        WESTERN DIVISION
   21
   22   KAJEET, INC.,                           ) CASE NO. 8:18-cv-01519-JAK-PLA
                                                )
   23                             Plaintiff,    )
                                                )
   24                             vs.           ) JOINT STIPULATION TO FILE
                                                ) SECOND AMENDED
   25   QUSTODIO, LLC,                          ) COMPLAINT
                                                )
   26                             Defendant.    )
                                                ) Hon. John A. Kronstadt
   27                                           )
                                                )
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    1         Plaintiff Kajeet, Inc. (“Plaintiff”) and Defendant Qustodio, LLC
    2 (“Defendant”), hereby stipulate and jointly request that Plaintiff be permitted to
    3 file its Second Amended Complaint (“SAC”) in this litigation. Defendant has not
    4 yet filed its Answer to the First Amended Complaint, which was due for filing on
    5 or before November 15, 2019. Both parties recognized that it would be wasteful
    6 for Defendant to respond to the FAC as scheduled given Plaintiff intent to file a
    7 SAC in view of the ruling on the Motion for Leave (Dkt. 139). The parties met
    8 and conferred regarding the subject matter of this stipulation in a series of
    9 electronic mail correspondence on November 5, 2019 and thereafter in connection
   10 with discussions on modifications to the case schedule requested in the Joint
   11 Stipulation to Extend Deadlines (Dkt. No. 141) filed on November 7, 2019.
   12         Plaintiff’s proposed Second Amended Complaint is attached as Exhibits A
   13 and B (redline) hereto. The Second Amended Complaint is made in response to
   14 the entry of orders in this case on November 1, 2019 which had the effect of both
   15 removing and adding patents and claims to the case. Dkt. Nos. 139 (making
   16 Plaintiff’s Supplemental PICs operative in the case); 140 (dismissing all claims
   17 from two of the three Patents-in-Suit). The Second Amended Complaint proposes
   18 amendments that bring that allegations and causes of action presented therein into
   19 accord with Plaintiff’s Supplemental PICs. A cataloguing of the material proposed
   20 amendments is provided below and are shown in the redline attached as Exhibit B.
   21         Subject to its approval on the contents of the SAC, which was later
   22 forthcoming, Defendant provided its limited written consent pursuant to FRCP
   23 15(a)(2) on November 6, 2019 for Plaintiff to amend its First Amended Complaint
   24 for this purpose. Additionally, Defendant has been provided an opportunity to
   25 review the proposed Second Amended Complaint prior to filing of this Joint
   26 Stipulation and has indicated that it maintains its written consent to its filing.
   27 Plaintiff agrees that Defendant’s stipulation to the filing of the SAC does not
   28 constitute any admission or agreement to any of the allegations in the SAC and is
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    1       without prejudice to any challenge that Defendant may seek to file to the
    2       SAC or plaintiff’s bases for the allegations contained therein.
    3          The parties also stipulate and request that Defendant’s present filing deadline
    4 for its Answer to the First Amended Complaint be vacated. The parties reserve the
    5 right to file a subsequent stipulation setting deadlines for Defendant to Answer or
    6 otherwise respond to the Second Amended Complaint and for Plaintiff to Answer or
    7 otherwise respond to Defendant’s Answer (should counterclaims be asserted
    8 therein) that deviates from the timing set under the Federal Rules should the default
    9 deadlines be impracticable during the upcoming holiday season.
   10          The proposed amendments made in the Second Amended Complaint included
   11 the following1:
   12              • Paragraph 12 is amended to reflect the attachment of an additional
   13                 exhibit, Exhibit I, which is a Supplemental Declaration of Dr. Charles
   14                 Knutson adding to the opinions provided in unaltered Exhibit E;
   15              • Paragraph 22 is amended to track the language presented in Kajeet’s
   16                 Supplemental Infringement Contentions;
   17              • Paragraphs 23 and 26-29 are amended to include additional factual
   18                 allegations relating to the operation of the Accused Products that track
   19                 the evidence presented in Kajeet’s Supplemental Infringement
   20                 Contentions;
   21              • Paragraphs 40-43 are added to provide discussion specific to claim 1
   22                 of the ‘559 Patent which was added to the case via Plaintiff’s
   23                 Supplemental Infringement Contentions;
   24   1
            This listing excludes minor amendments made to for the purpose of clarity,
   25
        consistency of terminology used, to correct typographical or formatting errors, and
   26
        the like. Each such amendment is shown in the redline attached as Exhibit B,
   27
        however.
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    1           • Paragraphs 44-47 are added to provide discussion specific to claim 13
    2              of the ‘559 Patent which was added to the case via Plaintiff’s
    3              Supplemental Infringement Contentions;
    4           • Paragraphs 49, 51, and 52 are amended to more closely track the
    5              language of the asserted claim(s);
    6           • Paragraphs 55 and 56 are amended to add to Plaintiff’s allegations of
    7              indirect infringement consistent with its Supplemental Infringement
    8              Contentions; and,
    9           • Paragraphs 60, 78, 96, and 111 are added to clarify that Counts II-V
   10              are no longer in the case but the allegations presented in support of
   11              those claims are maintained in the Second Amended Complaint for the
   12              purpose of preserving them for appeal.
   13         Each amendment made in the Second Amended Complaint is within the
   14 scope of limited written consent given by Defendant.
   15
   16    IT IS SO STIPULATED
   17                                        Respectfully submitted,
   18
         Dated: November 18, 2019      By: /s/ Richard A. Wojcio, Jr.
   19
                                        FRIEDMAN, SUDER & COOKE
   20                                     Jonathan T. Suder
   21                                     Michael T. Cooke
                                          Corby R. Vowell
   22                                     Richard A Wojcio, Jr.
   23
                                        FERNALD LAW GROUP
   24                                     Brandon C. Fernald
   25                                  Attorneys for Plaintiff Kajeet, Inc.
   26
   27
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    1    Dated: November 18, 2019      By: /s/ Lowell D. Jacobson
    2
                                       BENESCH, FRIEDLANDER, COPLAN &
    3                                  ARONOFF LLP
                                          Kal K. Shah
    4
                                          Manish Mehta
    5                                     Lowell D. Jacobson
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                                          Samuel Ruggio
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                                       STADLING YOCCA CARLSON & RAUTH, P.C.
    8
                                          Douglas Q. Hahn
    9                                     Salil Bali
   10                                  Attorneys for Defendant QUSTODIO, LLC
   11
   12
   13
   14                           SIGNATURE CERTIFICATION
   15         I hereby certify that the content of this document is acceptable to Lowell D.
   16 Jacobson, counsel for Defendant, and I have obtained his authorization to affix his
   17 electronic signature to this document.
   18                                           /s/ Richard A. Wojcio, Jr.
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